               Case 2:18-cv-01761-RAJ Document 130 Filed 01/30/20 Page 1 of 6



 1                                                         THE HON. RICHARD A. JONES
 2

 3

 4

 5

 6

 7

 8
                             UNITED STATES DISTRICT COURT
 9                          WESTERN DISTRICT OF WASHINGTON
10                                    AT SEATTLE

11 CANYON ESTATES CONDOMINIUM
   ASSOCIATION, a Washington non-profit           No. 2:18-cv-01761-RAJ
12 corporation,

13                  Plaintiff,                    STIPULATION AND ORDER BARRING
                                                  CLAIMS BY FARMERS AND NON-
14                    v.                          SETTLING THIRD-PARTY DEFENDANT
                                                  INSURERS AGAINST DEFENDANT
15 ATAIN SPECIALTY INSURANCE                      WESTCHESTER AND DISMISSING
   COMPANY; INDIAN HARBOR                         WESTCHESTER WITH PREJUDICE
16 INSURANCE COMPANY; WESTCHESTER
   SURPLUS LINES INSURANCE COMPANY;
17
   and GREAT LAKES INSURANCE, SE,
18
                    Defendants.
19

20                                       STIPULATION

21           Defendant Westchester Surplus Lines Insurance Company (“Westchester”) has

22 reached a settlement with Plaintiff Canyon Estates Condominium Association (“Canyon

23 Estates”), which settlement concludes all claims and issues between Canyon Estates and

24 Westchester raised in this lawsuit.

25           In a subsequently filed and related lawsuit styled Canyon Estates Condominium

26 Association v. Farmers Insurance Exchange, et al., King County Superior Court Cause No.

     STIPULATION AND ORDER BARRING                                        901 FIFTH AVENUE, SUITE 1700
     CLAIMS AND DISMISSING WESTCHESTER                                    SEATTLE, WASHINGTON 98164
     WITH PREJUDICE – 1                                                      TELEPHONE: (206) 623-4100
                                                                                FAX: (206) 623-9273
     (Cause No. 2:18-cv-01761-RAJ)
     MES1443.081/3441950x
               Case 2:18-cv-01761-RAJ Document 130 Filed 01/30/20 Page 2 of 6



 1 19-2-08923-7 KNT, Defendant Farmers Insurance Exchange filed a Third-Party Complaint

 2 against Westchester for contribution, thus making Westchester a Third-Party Defendant in the

 3 King County action.

 4           In relation to its settlement with Canyon Estates, Westchester obtained in the King

 5 County action an Order Barring Claims by Farmers and Non-Settling Third-Party Defendant

 6 Insurers Against Westchester Surplus Lines Insurance Company. A true and correct copy of

 7 the Settlement Agreement and Mutual Release entered into by Westchester and Canyon

 8 Estates was attached as Exhibit 1 to the Declaration of Noah Jaffe in support of an earlier

 9 claim-bar motion Westchester had filed in the instant federal court case, but later withdrew.

10 See Dkt. Nos. 55, 56, 56-1, and 92. A true and correct copy of the King County Superior

11 Court’s claim-bar Order is attached hereto as Exhibit A.

12           The King County Superior Court’s found that the settlement entered into by

13 Westchester and Canyon Estates was reasonable, including but not limited to the settlement

14 amount, and further held Canyon Estates “responsible” for “any shortfall between the

15 amounts paid by Westchester and Westchester’s overall contribution liability in excess of

16 Weschtester’s $1,990,000 settlement payment.” Exhibit A. As such, the settlement is both

17 reasonable and there are adequate protections in place for all the non-settling insurers.
             Westchester had earlier filed a Motion for an Order Barring Claims by Non-Settling
18
     Insurers in the instant federal court action. See Dkt. No. 55. At the request of Farmers’
19
     counsel, Westchester later withdrew that motion while a similar motion was pending in the
20
     King County action. See Dkt. No. 92. Since that time, the King County Superior Court
21
     entered the claim-bar Order attached hereto as Exhibit A.
22
             The parties now stipulate that an identical claim-bar Order should issue in the instant
23
     federal court case and that Westchester be dismissed from this case with prejudice and
24
     without costs to any party.
25
             Below is a proposed form of Order.
26

     STIPULATION AND ORDER BARRING                                                901 FIFTH AVENUE, SUITE 1700
     CLAIMS AND DISMISSING WESTCHESTER                                            SEATTLE, WASHINGTON 98164
     WITH PREJUDICE – 2                                                              TELEPHONE: (206) 623-4100
                                                                                        FAX: (206) 623-9273
     (Cause No. 2:18-cv-01761-RAJ)
     MES1443.081/3441950x
               Case 2:18-cv-01761-RAJ Document 130 Filed 01/30/20 Page 3 of 6



 1
             DATED this 29th day of January, 2020.
 2

 3                                         WILSON SMITH COCHRAN DICKERSON

 4                                         By: s/ John M. Silk
                                                 John M. Silk, WSBA #15035
 5                                               Maria E. Sotirhos, WSBA #21726
                                                 901 Fifth Avenue Suite 1700
 6                                               Seattle, WA 98164
 7                                               Phone: 206-623-4100; Fax: 206-623-9273
                                                 Email: silk@wscd.com; sotirhos@wscd.com
 8                                               Attorneys for Defendant
                                                 Westchester Surplus Lines Insurance Company
 9

10
     Approved as to form by:
11
     ASHBAUGH BEAL
12
     By: s/ Jesse D. Miller
13
     Jesse D. Miller, WSBA #35837
14   Zachary McIsaac, WSBA #35833
     701 Fifth Ave., Suite 4400
15   Seattle, WA 98104
     Email: jmiller@ashbaughbeal.com;
16   zmcisaac@ashbaughbeal.com
     Attorneys for Plaintiff
17   Canyon Estates Condominium Association

18 LANE POWELL

19 By: s/ David M. Schoeggl
   David M. Schoeggl, WSBA #13638
20 Stephania C. Denton, WSBA #21920
   1420 5th Ave, #4200
21 Seattle, WA 98111
   Email: schoeggld@lanepowell.com;
22 dentons@lanepowell.com
   Attorneys for Defendant
23 Indian Harbor Insurance Company

24

25

26

     STIPULATION AND ORDER BARRING                                           901 FIFTH AVENUE, SUITE 1700
     CLAIMS AND DISMISSING WESTCHESTER                                       SEATTLE, WASHINGTON 98164
     WITH PREJUDICE – 3                                                         TELEPHONE: (206) 623-4100
                                                                                   FAX: (206) 623-9273
     (Cause No. 2:18-cv-01761-RAJ)
     MES1443.081/3441950x
               Case 2:18-cv-01761-RAJ Document 130 Filed 01/30/20 Page 4 of 6



 1 MOKRI VANIS & JONES LLP

 2 By: s/ GailAnn Y. Stargardter

 3 GailAnn Y. Stargardter, WSBA #18179
   4100 Newport Place Dr. Suite 840
 4 Newport Beach, CA 92660
   Email: gstargardter@mvjllp.com
 5 Attorneys for Defendant
   Atain Specialty Insurance Company
 6

 7 BRACEPOINT LAW, P.S.

 8 By:s/ Michael P. Hooks
   Michael P. Hooks, WSBA #24153
 9 2775 Harbor Avenue SW, Suite D
   Seattle, WA 98126-2138
10 Email: mhooks@bracepointlaw.com
   Attorneys for Defendant
11 Great Lakes Insurance, SE

12

13 COLE, WATHEN, LEID & HALL, P.C.

14 By: s/ Rory W. Leid, III
   Rory W. Leid, III, WSBA # 25075
15 Elyse O’Neill, WSBA #
   1505 Westlake Ave. N., Ste. 700
16 Seattle, WA 98109-6243

17 Email: rleid@cwlhlaw.com
   Attorneys for Defendant
18 Great Lakes Insurance, SE

19

20

21

22

23

24

25

26

     STIPULATION AND ORDER BARRING                                 901 FIFTH AVENUE, SUITE 1700
     CLAIMS AND DISMISSING WESTCHESTER                             SEATTLE, WASHINGTON 98164
     WITH PREJUDICE – 4                                               TELEPHONE: (206) 623-4100
                                                                         FAX: (206) 623-9273
     (Cause No. 2:18-cv-01761-RAJ)
     MES1443.081/3441950x
                 Case 2:18-cv-01761-RAJ Document 130 Filed 01/30/20 Page 5 of 6



 1                                                       ORDER
 2           This matter having come before the Court on the Stipulation of the parties, above, and

 3 the Court having considered the parties’ Stipulation and Exhibit A attached thereto and also

 4 having considered Westchester’s earlier Motion for an Order Barring Claims by Non-Settling

 5 Insurers in the instant federal court action (Dkt. No. 55) and evidence in support thereof

 6 (Dkt. Nos. 56 and 56-1), as well as the relevant pleadings and papers on file in this action,

 7           IT IS HEREBY ORDERED as follows:

 8           1.         The settlement between Westchester and Canyon Estates is reasonable,

 9 including but not limited to the settlement amount;

10           2.         In order to protect the interests and rights of the Non-Settling Insurers in this
         1
11 action which have asserted a contribution claim against Westchester or which in the future

12 may have asserted such a claim; the Court further orders as follows:

13                      a.       Subject to applicable Washington law, the non-settling insurers are

14           entitled to seek an offset against Plaintiff up to the amount of the One Million Nine

15           Hundred Ninety Thousand Dollars ($1,990,000) settlement against any amounts one

16           or more non-settling insurers may be deemed to owe to Plaintiff Canyon Estates

17           Condominium Association in this action in any post-judgment hearing before the

             Court; and
18
                        b.       Plaintiff Canyon Estates Condominium Association is responsible and
19
             shall bear the burden for any shortfall between the amounts paid by Westchester and
20
             Westchester’s overall contribution liability in excess of Westchester’s $1,990,000
21
             settlement payment.
22
     ///
23
     ///
24
     ///
25

26           1
                 Non-Settling Insurers means all insurers other than Westchester.

     STIPULATION AND ORDER BARRING                                                    901 FIFTH AVENUE, SUITE 1700
     CLAIMS AND DISMISSING WESTCHESTER                                                SEATTLE, WASHINGTON 98164
     WITH PREJUDICE – 5                                                                  TELEPHONE: (206) 623-4100
                                                                                            FAX: (206) 623-9273
     (Cause No. 2:18-cv-01761-RAJ)
     MES1443.081/3441950x
               Case 2:18-cv-01761-RAJ Document 130 Filed 01/30/20 Page 6 of 6



 1           3.       The Court orders that any and all claims for contribution, allocation,
 2 subrogation, or equitable indemnity, as well as any other causes of action in connection with

 3 this litigation against Westchester are hereby barred.

 4           DATED this 30th day of January, 2020.
 5

 6
                                                        A
                                                        The Honorable Richard A. Jones
                                                        United States District Judge
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

     STIPULATION AND ORDER BARRING                                            901 FIFTH AVENUE, SUITE 1700
     CLAIMS AND DISMISSING WESTCHESTER                                        SEATTLE, WASHINGTON 98164
     WITH PREJUDICE – 6                                                          TELEPHONE: (206) 623-4100
                                                                                    FAX: (206) 623-9273
     (Cause No. 2:18-cv-01761-RAJ)
     MES1443.081/3441950x
